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I, Michael Lacey, declare:

   I. I aan a defendant in the above captioned matter.

   2. My Lead trial counsel in this inatt~r is P<~u1 Cambria of the Buf=Falo, New York law
      firm of Li~sitz Green Sciine Cambria.

   3. I am also represented in this matter by Tam I-~enze and Janey ~Ienze Cook of
      ~Ienze Cook Murphy, a Phoenix,Arizona law Linn.

   ~. I understand that Tom and Janey previously represented anon-party to this case,
      Carl Ferrer, wha was tl~e CEQ of Ba.ckpage.cam, a company I ct~-founded.

   5. I further understand that I~r. Ferrer has pled guilty to crimes related to his ~Tork
      for Bac~page,com, is cooperating with the GovernYnent, and is likely tc~ be a
      witness in this case.

  6. I have discussed wii:h IVIr. eam~ria nay understanding of Tarn end Janey's prior
     representatio~3 of Mr. Ferrer and the issues raised by that representation.

  7. Mr. Cambria explained the potential risks oftom and Janey continuing tc~
     represent me in a limited capacity notwithstanding their previous representation of
      Mr. Ferrer. In particular, we discussed the fact that Torn and Janey would not be
     ably to reveal any confidences ~f Mr. Ferrer, would nod be able to crass examine
     Mr. Ferrer or others in the trial, and ~auld only represent me in a limited capacity,
     specifically on f.'orfei~.~re matters, limited administrative matters, and. with respect
     to candztzo~-~s of my pretrial release.

  $. I understand that Tom and Janey owe continuing duties~ta Mr. Ferrer, as their
     former client.

  9. I continue to want to be represe~~ted by Tom and 3aney after having thoroughly
     discussed the mat~:er with Mr. Cambria and considered my alternative options.

  10.I would like the court tc~ understand ~~hy I want Zom acid Janey to be part ofmy
     legal team.. Because cif my fanner ca-ownership ofthe ct~ntraversial website,
      Ba~kpage.eom, I ll~ve I~ad to select a legal team for a cQmpiicated and.. seemingly
      endless courtroom battle.

  1 1.I chase attarn~ys believing that in the face of threats at both tllc state anci federal
      level, I would, at a minimum; choose who spoke on my behalf
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12.In tihe s~ror~gest teri~-~s pvss~ble, I v~~ould like tl~e cat~rt to ~.€nd~rs~and that I want
  'Io1n and Janey Hence. They are xny family fii-~n: the counseled rriy oldest son.
   when his teen~ige yeExrs c3vertc~Qk hin~; the}J did tike legal review ~a~ ~xpose~ I ~urc~te
   about the no#ori.ous Marie~pa County Sheriff, Joe 1~rpaio. They b~~iled ~n~; aut of
   jail when the Sheriff arrested me for articles I }published about his efihical lapses.
    V~Jhen tl~~ FB.I ~.rrested nee, t~~ey swept up my ~~ri1e's jEweiry,jewelry she awned
   prior to our engagement, prior to our first date. I~o~~,~ the Henze's ire also helping
   my wife.

13. Whin the State of Galiforni~ had ~ warzant aut i'or my detention, the Henze`s
   t~~rned me aver.

14.Now,I wait "I"~m anci Jan~y t4 he dart o~'the Iegal tee~r~1 in thc~ latest 1ega1 cha~t~r.

1 S. T'~~ze firm is also n~anagin~ ~~rly assts and adlninisterii~g Che p~.yin~; ~f my bi11s.
    This is not a s~mpie ~ccc~unt:ing task because the ~ovef~n~neslt seized my bank
     ~~counts. They are the interface between. creditors, on the one hand, azzd federal
     authorities an t~'ie other, all stakeholders in my financial affairs.

16.F~finally, they not onl~~ have my cantdet~c~, they are friends. This is not a sn1a11
   point in a large cc~n~'r~ntatic~rl.

l 7.I hereby give rr~y written ct~nsent ~o Tom ~-Ienz~ and Janet' ~Ienze Cook
    representing zne.



                   ~YEGUTEI~ t1~is%~ ~.ay af~            ~~      =~_            .2~ 18.
